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EXHIBIT
Case 2:11-cv-12422-AC-MKM ECF No. 129-7, PagelD.2119 Filed 07/28/14 Page 2 of 4

JUN 11 '@? 13:26 FR THE REICH AGENCY 1 248 283 98M9 TO 161467761589 P.82-06

APPLICATION FOR CHANGE OF BENEFICIARY DESIGNATION
Natonwide Life Insurance Company/Nationwide Life ang Annuity Insurance Company

L834 BOY 32 Primary tosunecs_ Saray Ht: | yx lage _ Ingureds SSN

Please see Page 3 of this application for mponant infomation, Nationvide Life insurance Company and Nationvide Life and Annuity insurance
Company, are herain referred.to as “the Company’.
[ This designation is for. y Pomary/Base insured iJ JoinvSpouse Riga Cj Other.
;_ Note: iF none selected, this will ba in effect for Primary/Bose dasured only. (Name of insured or Rider}

Full Name Relationship to sured Full Address SSN %

bAlhan Kesemte” AR eS... GERD 72.7.

B. FS The Executors or Administrators of the Estate of the insured, Total = 100%
c. Trust (Please include a copy of the Pages from your trust that contain the following information: the ttle of the tust; date estrbiiched.
vusiess’ names, and signatures), -
Named Trusteets) Of Quocessar(s}.
Tite/Name of Test : Date of Trust,

0. Trusteets),.or Succassors) m trust under Ineured's Last Will and Testament
E.[] Other (pidase apecify: Name:

Pomaiey
then tos :
A je “The following person{a} who survive the insured. In equal shares or noted percentages:
Full Name Relationship to inaured _ Putt Address SSN %

enh. OO a os
Keene.

B.C] The Executors or Adminigtrstors of the Estate of the Insured, Total = 100%
CQ Trust (Meuse include a copy of the pages from your tnust that comain the following infonmation: the tle of the treet, dats exiabshed,

trustees’ names, and signatures).

N: d Te {AZ . OF auccesgor(s}.
| TitlesName of Trust Date of Trust:
18.0)  Trusteecs), or Successors) in trust under Ingured’s Last Will and Testament

| (Other (please specify): Name:

Address:

og2006

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Case 2:11-cv-12422-AC-MKM ECF No. 129-7, PagelD.2120 Filed 07/28/14 Page 3 of 4

JUN 11 '°@? 13:27 FR THE REICH AGENCY 1 246 283 99809 TO 16146776189 P.@3-26

. APPLICATION FOR CHANGE OF BENEFICIARY DESIGNA
Nationwide Life Insurance Gompany/Nationwide Life and Annuity mnourenee Company

} hereby acknoniedge that | have mead and agree to the terms and condition en page this io that this ch of
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; ‘ i . of . i
befor he Company hee nares apsication and this apoicaton wil have no eect on any paymant made or Acden kon yn
y

Owner signed and
withessad in (atyrstate) Py 7 yu

Cavey fF Luvitore
Dats Signed
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Owners Wiiness . :
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Agreed to for Nationwide Life in Companyitationwide Lite and Anmsty
i Company by Thomas B 3 y t ? Lp )

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Case 2:11-cv-12422-AC-MKM ECF No. 129-7, PagelD.2121 Filed 07/28/14 Page 4 of 4

JUN 11 '@? 13°27 FR THE REICH AGENCY 1 248 263 9829 TO 16146776199 P.24/06

APPLICATION FOR CHANGE OF BENEFICIARY DESIGNATION
Nationwide Life Insurance Company/Nationwide Life and Annuity Insurance Company
Mail to: Nabonwide Lift Insurance Company, P ©. Box 182835, Columbus, Ghio 43218-2835

Swed mpfigawidefinanctal com

change” iy Secon sor eee on, Sesionation meting names and perobsteges applicable). We wi not accept onions torte oe ce

change” in Section 1 of Saction 2 of forms where Section 1 a lof blank.

° Doliar Amounts: Spaciic dollar amounts are generally not p ited. Inefoad, pi designate a percent in the % column. Percentage totals
must equal 100 percent. H you must dasignate a specific dollar amount, please contact bur Home Office.

+  Fonesal Home or Creditor: I you wish to nisrme a funeral hone or creditor, please use the “Other” fold for this designation. Please use iho
any eon ea, omoHete the deme Usted in patesthenis: (Credtior Namo or Funeral Home Nama), a8 Dir hice nes epee esis
‘any to {whomever you wish to designate)”

° Businesses, Schools, Charities, or Churches: If you wish to name @ butiness, school, charity, a chusch 8S your benbficiary, plonsa ube the
“Other field for this designation, .

= trevocabie beneficiary: An inevocsbia benafoary, once named, cannot ba changed without the of the cable beneficiary,

Metin of existence and no longer’.
Tama end Conditions
* Sending your polfoy: Please do hot send in your policy with this request. The Company walvas any pofey provision requiring the retam éf ths
Policy to the Company tor endorsement, .

* Previous beneficiary designotions: Once the Company rechives ond egress to thix Sppiication, all previous beneficiary designations for this
policy are revoked effactive the datz of this application, {fa death claima becomes bayable under this policy, the proceeds shall be payabla to the
beneficiary(les) named in this application after the Application has baen accepted by the Company.

Beneficiaries shell Instead be paid in equal sh to those Beneficiari or Contingent Seneficiades who survive the inured,
°o = Children ineluds naturally bore and legally adopted chidren of the Inaured,
o aero red Be ee a oa iid of ess then tepal age shofl bo paid to the legally appointed guendian of hiahes property or in any other monner
app foved by the inws of he state where paymont is made.
« Beneticlaries act specifies by name: Menenclanyies) are not speciied by name (Le. af children fying), tha Company is authorized to rely on
The COR ae eenecaly Tated on thie fone or from any responsible person in detemmining the names of the Lonéraares cane ea

2 2h tone) ae & wines, an uninterested pasty shoud sign 28 the witness (someone nt named 26 & beneficiary oF otherwise signing
thig form).
. Owners’ rights: The ownoris) reserve the right to change the b fidasy unless others Provides for on this application (ie. irrevocable

benoficiary{ies}),
¢ He TrusvTrostes(a) is named as beneficiary on this poticy:
o The Company bs nol responsible for the application or disposition of the proceeds of the policy by the Trustee{s). Payment to the Trastex(s)

shall fury dischargs the Habifty of tha Company undor the policy.

° rere atesciany is a testamentary wust, the Company is euthorizad to rely on & ceriied copy of the qualiication and appointment of ne
uustee of ths probating of the wil WF the beneficiary is an inter vivos or fiving trust, the Company is authonzed to rely upon » statament from
the trustees that the trust is active.

° Ten Menthe shor the death of the insured, the Company has not been fumihed with evidence of the probating of the WAT and tne
et creat ie Pustoe (ts iestomentary ust), or, with evidence that the trust I active and in ful force and effet (fan inler vis or ving
trust), the procaeas may than be paid to the mnfingent or ciher benurficiary(ies) designat to next receive the proceeds. Hf there are no such

Nome cat Beneficiary, the Company « authorized to rely upon » cating copy of the qualifestion and apmoniant at ie ee eo
Admmnisvator of tire | d's Estate, Pay Of the policy's proceads to the Executor or Agministator shel fully discharge (he Sebatty of the

Company under the policy.
° Any referanoa in thie Application to a beneficiary tying or sunaving wit mean Bving of surviving at the time of the Insutéd’s death.

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